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UNITED STATES OF AMERICA 3b
.“ _…‘ :j;.-D/DIHO¢{O
vs. 03 C§: ®E
JAG{§/\@r

VALERY AKSELRUD, et al.
________________________________________ X

ORDER MODIFYING CONDITIONS OF RELEASE AND BOND
OF DEFENDANT VRLERY AKSELRUD

Upon motion for counsel of defendant Valery Akselrud, without
objection from the government or his pretrial services officer, the
Conditions of Release and Bond of defendant Valery Akselrud are
modified. to the extent that he may travel to WeSton, Florida
between May 6 and May 13, 2005.

IT IS SO ORDERED.

A-?VM

J D. TODD
UN ED STATES DISTRICT JUDGE

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This document entered on the docket sheet ln compliance
with Flu|e 55 and!or 32(b) FRCrP on

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Honorable J ames Todd
US DISTRICT COURT

